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             IN   THE    UNITED       STATES BANKRUPTCY  COURT
                     FOR      THE    DISTRICT OF DELAWARE




In    re                                               Chapter     11


W.R     GRACE           CO et al                       Case   No     01-01139        JKF
                  Debtors                              Jointly Administered

                                                       Ref    No    21544



                  DEPOSITION             OF JOHN        PARKER      M.D
     witness      herein        called          for     examination          by    the


Claimants taken                pursuant           to    the   Federal        Rules       of


Bankruptcy          Procedure             by and        before     Susan            Alldridge

     Registered         Professional              Reporter       and Notary          Public         in


and    for    the    State      of       West   Virginia           at   the       Ramada      Inn


Conference          Center          20    Scott        Avenue      Morgantown

West    Virginia         on    Tuesday                 June   2009      at    909 a.m
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      produced    from the          radiographs                 reviewed          with       them

                  And       the    predominantly               pleural          disease over

      interstitial          fibrosis that                would       be    different          from

      Chrysotile       in         significant            way

                  Chrysotile            does       not    produce          as    much

      pleural    abnormality            as    parenchymal             abnormality                 in


      my experience

                  Is    it    significantly               less

                  Its related                to    dose    response

10                                                the                 and       the
      relationships          affecting                   pleura

11    parenchyma

12                     was    wondering            if    its significantly                    less

13    than   amphibole        --


14                Yes

15                --    cohort

16                Yes

17
                  Okay            And   in    your review             of    Libby       chest

18
      x-rays     did you          see        lot    of    thin       but    extensive

19    visceral    pleural          thickening

20                Most       costophrenic               angle    blunting             that    was

21    present    was    also accompanied                  by    parietal          pleural

22    plaques      There          also was         some    costophrenic                angle

23    blunting    that       would      meet       the    definition             of    B2    by

24     ILO       suspect          most of what                 saw    of    costophrenic
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      angle    blunting          would       meet    the    B2   ILO   definition            at


      least    unilaterally

                       was       asking       about    thin      but   extensive        --


                       did not          --


                     -- visceral             pleural thickening                 Did    you

      see      lot    of    that

                       saw       some    costophrenic            angle    blunting

      that    would    not       meet    the    ILO    definition         of    B2    but


      would    meet    the       ILO    definition          of   B1

10                   And    would       that    be    significantly            different

11    than    Chrysotile          presentations

12                   Yes     in my       experience

13                   And    in    the    Libby       x-rays        did you      see

14    lower    incidence          of    blunting       with visceral            pleural

15    thickening       than       yoifve       seen    elsewhere

16                   No
17                   And    in    the    Libby       chest       x-rays    did you          see

18    significant          subpleural          interstitial fibrosis

19                   Its been           present       but    not    different         than

20    other cohorts

21                   Not    different          than    other amphibole

22    cohorts

23                   Yes

24                   Would       that    be    different          from Chrysotile
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      cohorts

                     Not      always

                     Not       always            did you        say

                     Yes

                     Generally             is    it

                     Generally             yes

                     And      in    the    Libby        chest    x-rays      did you       see


      more         or     did you         see    cases     of    pure pleural

      disease      with no          interstitial fibrosis

10                   Yes

11                   And      is    that       consistent        with   other

12    amphibole         cohorts

13                   Yes

14                   And      is    that       also     significantly        different

15    from Chrysotile               cohorts

16                   Not      always           no
17
                     Generally            so

18                   Yes

19                   And      when       you    compared        CT   scans   to    chest

20    x-rays    on      the    same       people        from Libby       did you      note

21    that   the     CT    scans         showed          lot    more pleural

22    disease

23                   Yes           The    CT    scans     did demonstrate           more

24
      pleural      disease than                was    appreciated       on   the    chest
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      x-ray

                     And    is    that       consistent               with       amphibole

      cohorts

                     Yes         And       Chrysotile             cohorts

                     And    then       you       mentioned            the    amosite cohort

      from Paterson              New       Jersey            Did      you    do       any    work       on


      that    same    cohort          after       it    moved         to    Tyler           Texas

                     No          did       not

                          lot    of    the       same       workers         moved          from

10    New    Jersey to          Texas        didnt they

11                   Im not           sure       if    it    was      the    workers          who

12    moved           guess       it       was    the       workers         who       moved

13    was             to              also                  of   the
             going          say                  some                      investigators

14
      moved     too

15
                     Any    other amphibole                      cohorts         in    the

16    United    States          that       youve        done       work      on
17                   No          dont believe                    so

18                   On    page       10    of    Exhibit                  just       above       the

19    new    caption       The        Importance             Of theres                       sentence

20    beginning       The        Libby       radiographic                  and    clinical

21    findings       are    consistent                with       international

22
      populations          exposed          to    amphibole            asbestos

23                   And what          are       you    referring to                  in    terms of

24    clinical       findings          there
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                      Could       you       redirect          me            actually             didnt

       see    where    it       was

                      Above       the       bold

                      Yes

                      Yes              meant          that    populations              exposed          to


      amphiboles           in    Finland          and       Turkey        and    Australia          and

      South     Africa          and    other locations                    have       had


      radiographic              findings          with       extensive           pleural

      abnormalities              sometimes reported                         And       clinical

10     findings       of    effusions                 clinical        findings             of    rounded

11    atelectasis               clinical          findings           of    parietal             plaques

12    clinical        findings             of    lung cancer               clinical             findings

13    of     diffuse       pleural thickening                      have     been       identified

14    in     other international                      populations           that       are

15
      amphibole        exposed                  And    the    Libbys findings                     were

16    quite     typical          of    those          that    have        been       seen and

17    reported        internationally

18                    Okay            So    as    to    effusions               the    Libby

19    findings        are       consistent             with    amphiboles

20                    Yes

21                    And       would       you       say    the     incidence             of


22    effusions        in       Libby       is    significantly                 greater          than    in


23    Chrysotile           cohorts

24                    Yes              havent seen                    lot       of    films       myself
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      with    effusions        from    Libby        but   the     experience

       reported    would       make    me    think    that      its more than

      with    Chrysotile         yes

                   And    as    to    rounded       atelectasis          were     the


      Libby     films    consistent          with    other amphibole             cohort

       films

                   Yes

                   And    significantly             greater       than   Chrysotile

      cohorts

10                 Yes

11                 And    as    to    the    incidence       of   diffuse        pleural

12
      thickening         was    Libby       consistent       with    amphibole

13    cohorts     on    that    issue

14                 Yes

15                 And    significantly             greater       than   Chrysotile

16    cohorts

17                 Possibly

18                 Did    you    say    possiblyT

19                 Possibly

20                 Youre        not    sure

21                 Im not        certain

22                 And    what       about    the    finding of          chest    pain

23    Was    -- were     the    Libby       clinical      findings        in   that


24     regard    consistent          with    amphibole       cohorts       elsewhere
